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CITY OF

sa Police Department
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April 2, 2025

Honorable Judge Stephen J. Murphy, III
Theodore Levin U.S. Courthouse

231 W. Lafayette Blvd.

Detroit, MI 48226

Your Honor,

The City of Jackson has been plagued with fentanyl and heroin overdoses, and the overdoses are
at an all-time high in the community. Some of these overdoses have resulted in fatalities,
profoundly affecting the emotions of all concerned citizens and stakeholders. It has been deemed
a major threat to both individuals and public health. It has taken coordinated efforts to implement

large scale reduction strategies of criminal enterprise investigations and the public distribution of
naloxone to combat the attack on our community.

The constant stream of fentanyl and heroin in our community had also caused an increase in gun
violence in the City of Jackson, labeling our City as the 3 most violent city in the state of
Michigan. The Jackson Police Department identified the Thoroughbred Family Gang (TBF) as a
strong contributor to this crisis, but our agency had limited resources to adequately address it.
The TBF remained vigilant in flooding the streets with “Poogi Dope”. TBF was linked to a series
of gun store robberies and was involved in various violent acts, including shootings and
homicides.

The TBF’s activity caused the Jackson Police Department to collaborate with the ATF and the
US Attorney’s Office in a joint, complex criminal investigation involving the TBF. The result
was the dismantling of the violent TBF Gang, culminating with the arrest of its leader,
Tamarious Faulkner. Almost immediately, the City of Jackson community members rebounded.
While there are still issues, violent crime was cut in half and Jackson is no longer in the top ten
most violent cities. The fentanyl and heroin overdoses decreased, as well as the associated crimes
with it. Faulkner wreaked havoc on the City of Jackson, leaving behind a string of numerous
victims, terrorized citizens, and a community crippled with an unsure feeling of security and
humanity.

Faulkner and the TBF Gang were a menace to the Jackson Community, and I am asking the court
to use every legal avenue necessary to keep him from harming our community again. I
recommend the maximum sentence be imposed on the defendant.

Christopher A. Simpson
Chief of Police
